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 1
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 6   Attorneys for Defendant JOHN CLIFFORD POLLARD
 7
 8
                                   UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
11                                      SAN FRANCISCO DIVISION

12
       UNITED STATES OF AMERICA,                          No.     CR 13-722 WHO
13
14                                     Plaintiff,         DECLARATION OF NATHAN BAYS IN
                                                          SUPPORT OF DEFENDANT JOHN
15                                                        CLIFFORD POLLARD’S SENTENCING
                       vs.                                MEMORANDUM AND MOTION FOR
16                                                        DOWNWARD VARIANCE
       JOHN CLIFFORD POLLARD,
17
                                       Defendant.
18
19
20          I, Nathan Bays, declare as follows:
21          1.      I am an attorney licensed to practice law in the State of California and before this
22
     Court. I am an attorney at the law firm of Swanson & McNamara, LLP. I am personally
23
     familiar with the facts set forth in this Declaration. If called as a witness, I would testify as
24
25   follows:

26          2.      Attached hereto as Exhibit A is a true and correct copy of a letter from Jonathan
27
     Powell, dated December 6, 2013.
28
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             3.     Attached hereto as Exhibit B is a true and correct copy of a personal statement
 1
 2   from John Clifford Pollard.

 3           4.     Attached hereto as Exhibit C is a true and correct copy of a letter from Leah
 4
     Caitlin Pollard.
 5
             5.     Attached hereto as Exhibit D is a true and correct copy of a letter from Veera
 6
 7   Mylapore.

 8           6.     Attached hereto as Exhibit E is a true and correct copy of a letter from Christine
 9   D. Wade, dated December 9, 2013.
10
             7.     Attached hereto as Exhibit F is a true and correct copy of a letter from Susan
11
     Dyment.
12
13           8.     Attached hereto as Exhibit G is a true and correct copy of a letter from Steven M.

14   Katz.
15           9.     Attached hereto as Exhibit H is a true and correct copy of a letter from Swanson
16
     McNamara to IRS Agent Natalie Richards, attaching a $100,000 cashier’s check.
17
             10.    Attached hereto as Exhibit I is a true and correct copy of an addendum letter from
18
19   Christine Wade, dated May 8, 2014.

20           11.    Attached hereto as Exhibit J is a true and correct copy of a letter from Adam
21
     McNicol, dated May 8, 2014.
22
             12.    Attached hereto as Exhibit K is a true and correct copy of an addendum letter
23
     from Jonathan Powell, dated May 18, 2014.
24
25           13.    Attached hereto as Exhibit L is a true and correct copy of a letter from Bevan

26   Dufty, dated February 3, 2014.
27
28
                                                     2
                                     Declaration of Nathan Bays in Support of
          Defendant John Clifford Pollard’s Sentencing Memorandum and Motion for Downward Variance
                                      United States v. Pollard, CR 13-722 WHO
              Case 3:13-cr-00722-WHO Document 12-1 Filed 05/22/14 Page 3 of 66




              14.    Attached hereto as Exhibit M is a true and correct copy of a letter from Hansa
 1
 2   Patel, dated May 21, 2014.

 3            15.    Attached hereto as Exhibit N is a true and correct copy of a letter from Cody
 4
     VanValkenburgh.
 5
              16.    Attached hereto as Exhibit O is a true and correct copy of a letter from Gabriel
 6
 7   Matty.

 8            17.    Attached hereto as Exhibit P is a true and correct copy of a letter from Gina
 9   Weyant.
10
              18.    Attached hereto as Exhibit Q is a true and correct copy of a letter from Jeanette
11
     Hosch.
12
13            19.    Attached hereto as Exhibit R is a true and correct copy of a letter from Judith

14   Davidson.
15            20.    Attached hereto as Exhibit S is a true and correct copy of a letter from Rachel
16
     Abraham-Pollard.
17
              I declare under penalty of perjury, under the laws of the United States and the State of
18
19   California, that the foregoing is true and correct to the best of my knowledge.

20            DATED: May 22, 2014, in San Francisco, CA            .
21
22
                                                           ____________________/s/_______________
23                                                                      Nathan Bays
24
25
26
27
28
                                                       3
                                     Declaration of Nathan Bays in Support of
          Defendant John Clifford Pollard’s Sentencing Memorandum and Motion for Downward Variance
                                      United States v. Pollard, CR 13-722 WHO
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                        EXHIBIT A

         Letter from Jonathan Powell
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                                                                  179 Osgood Rd.
                                                                  Sanbornton, NH 03269
                                                                  December 6, 2013


Hon. William H. Orrick
United States District Judge
Northern District of California
450 Golden Gate Avenue
San Francisco CA 94102


Your Honor:

I am writing to share with you my personal knowledge of John C. Pollard, in the hopes that it will help
you to determine the appropriate sentence for him.

John Pollard has been a very important person in my life. I am eighteen years older than him. I have
been a teacher at Sant Bani School in Sanbornton, NH, for 37 years, and am currently on sabbatical
leave. Sant Bani School is an independent day school founded in 1973 to serve the needs of the
followers of the spiritual Master Kirpal Singh, from Delhi. The Master had gained a substantial number
of followers, beginning in the early ‘50s and accelerating throughout the ‘60s, and there was a
concentration of them in the Sanbornton, NH, area, which had an Ashram (retreat center) and a printing
press to distribute the Master’s teachings. As the followers began to have school-age children in the
early ‘70s, there was a need for a school where the children could safely follow a vegetarian diet (a rare
thing in those days) and be imbued with the teachings of the Master on the importance of spiritual life
and service to others and the oneness of humankind, while at the same time being prepared for college
and life in modern society. I began working there at the age of 28, when the school had grown from 6
to 30 students, in 1976. The school was unique in that it relied heavily on donations rather than tuition,
and the young faculty were inspired to work for small pay. Anyone who really wanted to go to Sant Bani
could attend, regardless of ability to pay. After the Master toured the country in 1977 and spent several
days at the Ashram, several families from around the country relocated to the Sanbornton area so that
their children could attend the school. John’s family was one of them.

John’s first year at the school was a difficult one. Social relationships were very important to him, but at
the same time he had a lot of anger. He was very sensitive and felt injury in an exaggerated way, and
often felt that people were stealing from him. He had issues with authority and soon developed a
reputation as a bad kid, high energy and hard to control, always getting into altercations with other
students and teachers (though rarely of a physical nature). His parents’ marriage was breaking up. His
father worked as a self-employed builder with a reputation for being competent but slow. He was not
ambitious and not a record-keeper or businessman. He also had a series of relationships, in and out of
marriage, with married or single women, and eventually fathered eight children with four women. He
was not a good provider, and he and John moved several times during John’s adolescent years – I can
remember six houses that they lived at. Furnishings were spare, food, heat and clothing were uncertain,
and John had to struggle to get the equipment he needed for sports like hockey, and fend for himself in
many ways.
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His mother was very important to him, but after the first year she moved to New York with John’s two
sisters to pursue her career as a jazz singer (she had worked with John Coltrane). She was a needy,
disorganized and self-absorbed person, subject to bouts of depression, but also very talented, talkative
and vivacious. Poverty was something of a religion and a political stance for her. After the divorce she
married a colleague, a drummer several years her junior, and from what I saw, he was the one who
made sure that the children got meals. John got along with his stepfather, but the marriage did not last.

When John’s mother moved away, his father was not able to provide full-time day care, and I stepped in
to fill the gap. I felt that in spite of his troublesome behavior he had a lot of potential, but he had strong
needs that needed to be addressed – to be respected, to be appreciated, to be supported, and to have
control in his life. I was able to spend a lot of time with him, listen to him, and satisfy these needs, along
with driving him and his friends around for activities like hiking, tennis, swimming, movies and ice cream
– I became sort of an uncle to him. He was a leader and a mover, he always wanted to be active and
have something exciting going on. He had great skills for organizing materials and directing activities.
He wanted to be liked and valued and to please people and do things for them, and has always been
loyal and generous. He also developed a strong belief in work and doing something useful, to avoid the
poverty lifestyle of his parents. As he has developed through the years his horizons and ideas of what is
achievable and possible have continually expanded.

In eighth grade he threw a rock through one of the school windows and had to leave the school. He
moved to New York with his mother, but that did not work out long. He returned to New Hampshire
and went to a public high school, where in spite of not being a strong student, he made a strong
impression on both his French and English teachers, and developed a strong relation with a classmate
and his family of farmers. After a few years he applied again to Sant Bani and was accepted, but by then
his maturity level was not a good fit for the high school culture, and he only lasted a semester. He later
got his G.E.D. Although he was not at Sant Bani for most of this time, I remained close to him and spent
a lot of time with him.

Sports have always been important to John - hockey, tennis, soccer, skiing, and later rock-climbing and
various other activities. They provide an arena where he can work hard and excel, a means for him to
get the physical activity he needs in a structured way and a social setting, along with mental and physical
challenges of mastering the skills and strategies involved.

When he was old enough, he started working with his father and his father’s co-workers, both from the
need to earn money and his desire to learn and master the skills of the building trade. He kept
progressing in his level of achievement, and in the early ‘90s, when he was married, he bought a piece of
land and designed and built a large house for himself, trying out some innovative materials in the
process.

After his marriage collapsed he relocated to Lake Tahoe. The social network in New Hampshire was like
a small town where everybody knows everything about you and your past, and it was liberating for John
to get a fresh start without all the baggage of the past. He worked hard as a builder and built up a good
clientele, as he learned how to build in this new physical and social environment. After a few years he
moved down to San Francisco. He loved the city. He began by doing remodeling jobs, and was soon
buying run-down buildings and renovating them for sale. He had felt the need to specialize in some
niche where he could focus his skills and serve a specialize need, and after observing the city, he found
his niche as a builder of garages.
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Throughout, I have kept in touch with him. He comes back east periodically for short visits, and I have
visited him several times in California and have been very impressed by what he has achieved, especially
considering his beginning. John had no formal education, but has built his career on hard work and long
hours, learning from the example and practices of others. His organizational skills allow him to manage
people and assign tasks to keep several jobs going at a time, and he is constantly on the phone. On job
sites, he gives direction to each employee and listens to the problems that they encounter, finding
solutions and juggling all the pieces so that they fit together. He is ambitious and has vision that
expands his accomplishments and leads him further on. He is always seeking to improve and find a
better way, and reads a lot about how to improve his business and his life.

As John is inventing his business on the fly, he makes mistakes and learns from them. He tries to find
competent employees that he can trust and rely on, in both field work and office work. He also has
taken people he trusts and put them in jobs where they have to define and figure out the job and train
themselves by doing it.

One of John’s strong qualities is loyalty. He has many lifelong friendships from his childhood and
adolescence. He keeps his extended family of siblings and half-siblings together by providing an annual
vacation for them at Martha’s Vineyard. He has hired many people that he knew back east, including
many Sant Bani alumni, and some of them have become long-term employees. He feels responsible for
his employees, their growth, and their need to make a living.

He is also generous and willing to come to the aid of those in need. Whenever people from New
Hampshire come to San Francisco, he puts them up in his house or finds some property where they can
stay. He also wants to mentor younger people and open up opportunities for them. For example, when
he was married he hosted a teenager from New York in the hopes that a country environment would
turn his life around. He is also solicitous about the education of his younger half-brothers.

I believe that John’s legal difficulties came from trying to make things work for his employees and his
customers, without having the sophistication to recognize competent advice or to fully understand the
imperatives of the tax laws. As I have said, he is a person who wants to do the right thing, who learns
from his mistakes, and who sees himself as a positive force in the community. His businesses provide a
livelihood for many people and it is hard to see how they could continue to succeed without his hands-
on supervision. I would hope that he be allowed to continue being useful.



                                                                Respectfully,

                                                                Jonathan Powell
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                         EXHIBIT B

Personal Statement of John Clifford Pollard
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                BACKGROUND AND PERSONAL HISTORY

                              CHILDHOOD

I had an unconventional upbringing. Mainly, I remember being on my
own during much of my childhood. My parents were caught up in the
hippie era, and their own lives and their own squabbles. From an early
age, I was left to fend for myself while we moved around nomadically,
and they used whatever spare money & energy they had accumulated
to follow gurus around the country, undergo training at EST seminars,
and pursue their own goals of spiritual enlightenment.

My parents were hippies, vegetarians and followers of an Indian guru.
They homesteaded a farm in rural Summerduck, Va. We had no money
and neither of my parents took much trouble to make sure we went to
school.

In addition to farming, my father, John Pollard, worked as a truck driver
and a carpenter. Either he never earned money at these jobs or he did
not bring it home. He himself was rarely at home. Neither my mother
nor any of us kids knew where he was most of the time. When I was a
child, he had a series of affairs with women who were in their late
teens and the family disintegrated.

My mother was not regularly present for us either. She was a part-time
jazz singer who sang in small clubs and taught singing lessons. She
would go to Washington to sing, leaving us alone on the farm to fend
for ourselves. I got into a lot of dangerous situations as a kid. When I
was four years old, I ingested gasoline (I was playing at being a choo
choo train), got bitten by snakes at around the same age when I found
a nest of them crawling around the barn boards, and I had plenty of
stitches from various cuts, accidents and traumas that seemed to occur
on a near-daily basis. We kids always seemed to have to find help
                                    1
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ourselves, (although, on some occasions, a neighbor or friend or
passerby lent assistance).

My childhood is a blur of moving from place to place, sometimes living
with one parent, sometimes with the other. When I was 7, when my
parents were still together, we moved from the farm to the city of
Richmond, Va. My parents sent my sister and me to a public school in
a rough neighborhood. I was chased home from school every day,
getting beat up and picked on, I finally learned how to climb telephone
poles or trees quickly and run through peoples' back yards to avoid
getting hurt.

I learned how to survive. I didn’t have many friends my age. I spent a
lot of time with adults. For example, my best friend was a grown man
named Gilbert, who worked at the cemetery. We did many things
together, like setting off shotgun shells. I ran wild.


Just after I turned 9 years old, on March 13 1976, my sister Caitlin was
born. My parents’ marriage was in trouble - our Dad was cheating on
our Mom with a 19 year old girl, and the family moved to New
Hampshire in a vain attempt to save the marriage. Another reason for
the move was that we would attend Sant Bani School in Sanbornton,
NH (http://www.santbanischool.org/), founded to support the
vegetarian lifestyle and teachings of the spiritual Master. I received
financial assistance from the school to attend. We lived on a rural dirt
road, that was 5 miles from the nearest town New Hampton, which had
a small convenience store and a prep school. My biggest problem was
that I had no friends in the small town, being a new kid with long blond
hair who went to a small hippie school 20 miles away. My class size was
a total of 5 kids, 3 new boys from around the country whose families
had all moved that summer to be at the school, and two girls.


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By this time, I had developed serious issues with authority and it was
extremely hard for me to get along with the other kids and teachers.
My favorite times at the school happened in the morning and at recess,
in the morning the entire school, K through 12, sat in one large room,
probably 40 of us at the time in 1976, and we were read a story each
day for 20 minutes, then off to class. In class the 5 of us sat at a small
table with the teacher right there with us. We called teachers by their
first names.

After about two months, my mother and my youngest sister Caitlin
moved to New York City and my 7 year old sister Veera and I remained
with my father. After four months Veera moved to NYC to join our
mom and Caitlin and it was just my father and me on the farm. This was
when my father, who had never been around much, virtually
disappeared from my life. The young woman, whom my Dad had dated
in Virginia, moved to New Hampton, and I believe he began dating her
again. I was embarrassed by people talking about my Dad’s affairs with
other women. My main memories were riding my bike to school and
always trying to figure out how to get certain things, food, rides, warm
clothes when winter was coming, money, jobs, etc. From an early age I
learned how to use chain saws to fell trees, cut them up into sizes that
would fit in our stove to heat the house, split wood with a maul, and
start and keep fires going in order to not freeze in Northern New
Hampshire.

I remember life as hard. Everything, from keeping warm, to getting
enough food, to trying to make it at school was a struggle. I felt very
much alone in the world. One of my teachers at the Sant Bani School,
Jonathan Powell, took me under his wing. He became a father to me in
many ways, spending time with me, listening to me and nurturing me in
ways that I am profoundly grateful for. He had an upholstery business,
fixing chairs and couches. I would hang out after school and on the
weekends, he would teach me how to write cursive, which was
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required at the Sant Bani School. For each word written I got a penny,
then when we had 160 pennies, we got to town to Week's Ice Cream
for a sundae, and if I built up more pennies, then I got to play videos for
a bit, 25 cents a try. At 12 years of age I could drive any tractor or
backhoe, but did not know how to drive a car, so Jonathan taught me
on the back dirt roads of New Hampshire. He would make sure that I
got driven to places for school activities, and he seemed to value me
and my skills. Jonathan Powell is what stood between me and despair
for many years. He remains my close friend to this day. I also now sit
on the board of the Sant Bani School and raise money for it. That
school and Jonathan Powell probably saved my life.

When I was 11, my father joined with a neighbor Jim VanValkenburg to
form a construction company, and they started doing remodeling jobs.
That summer, they hired me for 50 cents an hour being a laborer. I
wanted to paint too, but was told I did not have the skills. One night I
stayed 4 hours late and finished staining a wall, very badly, and getting
stain on rocks and tile placed around it. The head painter in the
morning was extremely annoyed, and threatened to hit me and get me
fired. I shot back, “Don’t yell at me, show me how to fix the rocks, tile
and the bad staining job.” He did reluctantly, to his credit and within 2
weeks I was making 3 dollars an hour. That led me to learn all of the
carpentry skills that summer for a new 3 car garage. I would do some
work on my own, then get corrected the following day, usually with
verbal and or physical abuse, but I always said, “Show me how to do it
correctly, period.” By the end of the summer, I could frame, stain and
paint, pull electrical and install roofs as wells as most of the tradesman,
and faster, and my pay was $7.25 an hour. I quickly realized that the
more trades and higher skilled trades were more stimulating than doing
labor work, and paid a lot more.

             TEENAGE YEARS AND FIRST WORK EXPERIENCE

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When I was 12 we moved to Northfield to a house with no insulation,
single pane glass, great for summer but not meant for winter living.
The nearest neighbors had three kids that went to our school in
Sanbornton, so I got rides with them, and also many meals since there
was always a shortage of food at our house and my Dad was never
around.

I used to take care of another neighbor’s animals in return for being
able to ride his motorcycle. It was stolen from my house one night and
the owner said I owed him $300 dollars, which was a huge sum of
money at the time! He told me I could work it off after school and on
the weekends, working in his jewelry shop, making jewelry for him. I
became very good at pounding silver and gold earrings, rings and
bracelets as well as soldering them together. Once my debt was repaid
this worked better in the winters, since for after school work we had to
use lights in construction jobs, and it was freezing in the fall and
winters.

The spring I turned 13 my Dad had his pregnant girlfriend move in with
us. We did not get along at all, it was a terrible experience for both of
us. That summer my Dad told me I had to move out, that Lynn did not
want me around for the birth of my sister Rachel, so I briefly moved in
with Jonathan Powell, my teacher friend. That fall I got kicked out of
school for throwing a rock, so I moved to New York City to live with my
sisters, my Mom and stepdad Rick. I only lasted two weeks, they kicked
me out and I went to live with some jazz musicians in Soho, about 20
blocks away. I went to the special public school that my sister
attended, the Clinton Program, but with no friends it was extremely
hard to get along with teachers in the new situation. There was literally
no one at the flat I was living in, since the four musicians all traveled for
work. I hated New York. Since I was 10 years old, I would spend winter
break, spring break and most of the summers in my Mom’s 300 square
foot apartment in the lower East Side, which was an extremely drug
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infested area, the largest area in the world for heroin and cocaine at
that time. Growing up on farms and in the country, the city was the
worst situation for me, especially with no parental supervision, being
chased and having to survive on my own. I regarded the time in New
York as a prison sentence that had to be served.

At the age of 13 my father sent me to an EST training on a one-way
ticket to San Francisco. EST (Erhard Seminars Training) was very much
in vogue at the time, particularly with people of my father’s mindset.
Named after Werner Erhard, a former used car salesman, who later was
exposed as a quack, EST seminars featured motivational speaking
where narcissism and existentialism were preached. I had to fend for
myself in the city before going to Tahoe, and then rely on people at a
meditation retreat to get me back to New Hampshire.

I came back to New Hampshire for the summer at 14 years old and
worked for my Dad again. The Sant Bani School would not let me
return, so I went the local public high school in Tilton, where I didn’t fit
in. Soccer was my saving grace. My almost two years in public school
were not fun, except for soccer and one great teacher named Stephen
Tessler, who taught English, Shakespeare and other great topics. When
I got kicked out of public school and decided not to go back the soccer
coach was extremely disappointed in me, saying I had given up on the
program, but he did not realize that I had no way to survive the school.
By that time I was living alone, paying rent and utilities, and, in return
for providing rides for another kid, his father gave me a $100 dollar
Volkswagen.

When I was 15 years old, the landlord to the house we rented, where I
lived (but where my Dad was hardly ever around), said that we had to
leave. I asked why, and he said he my Dad had not paid rent for 1.5
years, and that we needed to move out. I said I would work in
exchange for rent on the house, fixing the barn, garage and house, and
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I signed a two-year lease with him. That winter when it was around 10
below, and having been kicked out of high school, I was working on the
lake for a large construction company. When I came home one night, it
had snowed and there was a fuel truck in the driveway, pumping out
fuel from the house. I asked the driver why, he said no one had paid
the bill. It was now 20 below, with no heat, every pipe in the house
would burst! I told him to stop, I would call Fred Fuller, the owner and
work it out, he told me to jump in the snow. I blocked the truck in the
driveway and called the owner, and negotiated a payment plan, $60
then, and $60 each month till paid in full. The worker was not happy,
since he had to pump the oil in back into the tank. The next night when
I came home there was no power, and a notice on the door that it was
shut off because the electric bill was not paid. I walked up the road and
asked a neighboring electrician what to do since it was 8 pm at night
and there was no one in the electric company office. He told me to
climb the pole and pull out the meter, inside would be 2 plastic tags,
pull each one out, at a time, do not touch at same time, or it would fry
me dead. Once completed, I had electricity again. The next day at
lunch I went and got the bill put in my name and address and paid it in
full. This was a recurring theme for me throughout my childhood, that I
needed to figure things out, or was going to be hungry and cold which
happened more times than I can remember.

After surviving the winter of 1983, at age 16, old my landlord asked me
if I knew someone who could do a large remodel and addition for them,
since my Dad said the job was too small for him. I said I would do it,
not to worry, then I hired four friends and built the addition. So I had
my first official construction company at age 16. For the next 3 years I
ran my company and helped run my father’s and Jim’s construction
company.

When I was 17 years old, we did a job next to a farmer whose son Matt
Swain had attended high school with me. They had an incredible work
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ethic and integrity, and I soon developed a long lasting friendship with
the entire family, especially with Matt. After work I would help them
with their roofs, building meat rooms, building new barns. We always
worked together whenever I had finished my day. Their days started at
4:30 in the morning and went until 9:30 at night, 7 days a week. They
loved having me over for dinner, since I was a vegetarian and would eat
all of the vegetables they did not like. My friendship with them, taught
me their strong work ethic. If a cow was birthing at 2:30 in the
morning, you just get out there and help; you help families in need
when their house would catch on fire, or if they needed new roofs;
whatever it was we would just go over and help who ever needed
something.

                      MARRIAGE AND LAKE TAHOE

When I was 21 years old I met Patricia, a young lady from France, and
we decided to travel around the country for 6 months on my
motorcycle. We had both saved for 6 months to be able to afford the
trip. We traveled to over 30 different states, staying in many National
Parks, camping the entire time, and seeing what an incredible country
we live in. I proposed to her after she had returned to Paris, and we
were married that summer on the Swain Farm in NH in 1989. I had
developed an extreme work ethic but had no role models for building
relationships, and our marriage was doomed from the start. We built a
house together, and stayed married for 3 years, but were separated
half that time. Patricia and I decided to try to save the marriage by
moving to Paris, working for her uncle, and traveling by motorcycle
around Europe, but it did not work out and I finally agreed to a divorce.

After returning to the States I began dating an older woman. She
traveled around the US, and decided to settle in Lake Tahoe and invited
me out to take a job running a medium size construction firm. I
immediately went to work running a local construction company, and
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began buying up buildable lots. I decided to just build my own spec
homes, homes to sell on the open market. Within one year I was the
largest builder in Lake Tahoe with over 35 employees, and building 6
different homes at a time. My relationship with that woman did not
work out, but I built her home, and we have remained friends ever
since. Tahoe was an incredible experience for me. Learning all of the
new ways they build in earthquake country and snow country was a full
time learning experience that I relished each day.

                             SAN FRANCISCO

In the winter of 1997 I met a CEO of start-up companies who lived in
San Francisco. He asked if I would be interested in investing in San
Francisco, buying an apartment building together, and I said for sure.
We had such a hard time buying property together, that one day he
suggested that instead of coming down every weekend, why not just
move here. I replied OK and I had no idea at the time that I was
completely done with living in a ski town. I never drank before moving
to Tahoe; since my family’s life was so dysfunctual I always wanted to
be in control. Eventually I finally tried beer after a couple of years in
Tahoe, then moved unto liquor, and I believe began drinking most
evenings.

Once I took the leap to San Francisco in the late fall of ‘98, after buying
a large house in the Mission with my now friend Eric, I loved everything
about the city, the progressives, the energy, people who here starting
new companies each day. It was extremely stimulating. My drinking
decreased over night to an occasional beer, or wine only, and I really
embraced my new living environment.

I thought I could dig under the house I bought with Eric and install a
new garage, and we would remodel it into two flats, one for each of us.
I had clients from Tahoe, who gave us remodel work in the Bay Area,
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and neighbors just came to my house to see if we could do their
addition, their garage and on and on. I moved a few of my longest
employees down from Tahoe as well, to help run our new business.
Some are still with me after 20 years. When the Dot Com bust
happened I had a couple of neighbors who said they were laid off, but
had money, and wanted to support me in starting a new construction
company, and what did I think SF really needed. I said the need was for
a real garage company, building new garages, expanding existing
garages and retrofitting buildings. 85% of the cost of a garage or
expansion was seismic upgrade, the work it takes to keep the property
from falling over in an earthquake. A couple of guys with Wharton
Business School degrees came on board to help me start "San Francisco
Garage Company". We started building new garages, expanding
garages and structurally upgrading buildings in SF, and hiring many
more employees.

We could not find enough engineering companies to keep up with all of
our works. I was spending half my day in Berkeley with an engineer
named Harold who I would dictate what I wanted him to design, then
when complete, I would take the disk to get printed plans, then bring
back for him to sign. I finally asked Harold if he would like to join me in
a new engineering company, with two offices, one in Berkeley and the
other in SF, so that he could continue to work in Berkeley. He agreed
and we have been working together ever since with engineers in both
offices. By now it was 2002, and we had 3 companies with over 75
employees, maybe more, a one stop shop for design, engineering,
permitting, and construction, with electricians, plumbers, heating,
shoring, concreters, framers, steel guys, and all major trades done in
house.

Eric and I bought another building, four units. I subdivided the property
and we sold off the units, and that began again my 4th company of
buying, developing and either keeping or selling of property.
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I then started a larger development company with four other people, a
top SF Attorney, a top Structural Engineer SE, a top TIC Attorney and a
top TIC broker in the city. My thought was that with all of us being the
top in our field it would be a win win. This was not one of my better
ideas. After doing many deals together I am still working with only one
of the original team. In hindsight, I have always needed a business
manager. I am not sure it would have been possible to make more
mistakes than I have made, with how I set up our businesses and the
way we went about trying to achieve goals.

Speaking of mistakes, around 2004 I met an incredible woman and
finally for the first time in my life fell in love. I of course messed things
up immediately by getting upset that she wanted to do a joint project
with another person that I did not respect, which made me extremely
competitive and upset all in one. I said she should do the project on
her own or with me, when then we went full speed into business
together, and manage to do quite well despite both have type A
extreme personalities. After four years we both decided we had to go
our own ways, and sold off our properties together. I do not regret the
relationship. It was much harder than work, to say the least, but I
finally learned a lot about myself and others.

In 2008 after working on a committee called BPR, Business Process
Relationship, I learned that the SF Building Department was going to
have completely new requirements for “special inspections”, inspecting
contractors and home owners when they are pouring concrete, and
inspecting steel when they are installing steel in buildings throughout
the Bay Area. Having worked with many special inspection companies
for the past 10 plus years, dealing with unprofessional behavior and
paperwork nightmares, I decided to start a new company called A1
Inspections. Today we have eight full time employees doing work
throughout the Bay Area with unlimited growth potential, with our
existing 340 contractors that we do repeat business with.
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In late 2008 my friend of over 30 years Nathan agreed to come out to
begin a radiant heating and solar company, specializing in installing
radiant heat in homes throughout the Bay Area. Nathan is a 3rd
generation contractor like myself. He was considered one of the best
heating contractors on the entire East Coast, doing jobs of just about
any size, but specializing in super large efficient homes and hospitals as
well. We began SF Eco Works in 2008, and our work has exploded and
grown since its inception to being the best radiant company in the Bay
Area. That said, I decided to put this company on hold until I am able
or find someone able to run it since it takes away from my core
business that make money. I should have kept this a small company
under SF Garage until I had management to run it, a hard lesson
learned.

With all of these companies, I did a terrible job of meeting my
responsibilities for taxes, paperwork, making sure that the books were
in order. I justified it to myself by thinking that contractors all over the
city treat employees like independent contractors and by fobbing off
the responsibility on tax matters to accountants and bookkeepers who I
just didn’t keep in the loop. That was a huge mistake and one that I feel
terrible about.

In 2008 with the world ending, my relationship ending with my fiancee,
and the incredible credit crunch, we began having serious problems
with clients owing us huge amounts of money, our sub-contractors not
able to complete their work on our projects, our suppliers not able to
get us supplies because of their cash crunch, and our employees who
had bought homes began not being able to make payments, which led
us to the past five years of being barely able to survive and sometimes
wishing we had not survived. The salt in the wound was having a
bunch of nuisance law suits against us, or involving us, such as
complaints about roof leaks on jobs where we had only done the
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foundation or garage, and they came in droves, one after another.
After five years and having poor advice, since we are not able to afford
better accountants and attorneys, we have sold almost all of the assets
that I had built up over the past 20 years to remain in business, pay all
of our creditors and keep our doors open on six different companies so
that the workers we have had for the past 20, 15, 10 or 5 years, training
and growing with us, will remain for a long time.

                        REFLECTIONS AND GOALS

The one thing I know is that I am incredibly lucky to have made it so far
in life, realizing that I have had a lot more opportunities than most. I
also know that I have made many mistakes over the past 46 years. I
realize that I really need the right help, professionals who will help look
over the areas that I have learned I am not good at, to make sure that
we keep our companies financially stable and profitable, and that if this
not achievable then we need to shut that particular business down no
matter how hard it will be for us and our team.

My goal and dream for the past 20 years was to partially retire by the
age of 40, now maybe 50, if lucky, and to spend time working with kids,
tutoring, teaching them life lessons, preparing them for the world
ahead. I know first-hand how not having an education can be limiting
to one’s opportunities, and the better prepared youth are the more
options they will have going forward into the real world. I formally
started a non-profit called the Urban Youth Center last year. The
mission for the program is to teach young neighborhood kids life skills,
from preparing meals to time management to basic IT skills that we all
use in our everyday life. They would mentor with different businesses
to see if they may want to be an structural engineer protecting our city
with seismic designs, or designing a new home, to working in the
trades, learning radiant heat and solar energy, which is where our
future is headed, hopefully finding a profession that will give them a
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sense of pride and security. Eventually I want the program to have a
center in the country as well, a place where kids can learn to grow
vegetables and fruits and make meals with what they have planted or
harvested. I feel that many kids are only learning how to work ipods,
phones, Xbox, etc, and without real lessons in the city and in the
country, they are less prepared to work in the box and think out of the
box.




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                        EXHIBIT C

       Letter from Leah Caitlin Pollard
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                        EXHIBIT D

          Letter from Veera Mylapore
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                        EXHIBIT E

          Letter from Christine Wade
Case 3:13-cr-00722-WHO Document 12-1 Filed 05/22/14 Page 30 of 66
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                        EXHIBIT F

           Letter from Susan Dyment
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                        EXHIBIT G

             Letter from Steven Katz
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           ~.~.~~ _~                                           One Embarcadero Center, Twenty-Second Floor

                                                                        San Francisco, California 94111-3711

                                                                                Telephone: (415) 392-1960
   ~~Y     ~'
                                                                                  Facsimile: (415) 392-0827



                                                                                               Steven M. Katz

                                                                                          skatz@sideman.com




                                          April 1l, 2014


VIA FIRST CLASS MAIL

Hon. William H. Orrick
450 Golden Gate Avenue
San Francisco, CA 94102

                Re:    John Pollard

Dear Judge Orrick:

      I am writing on behalf of my client, John Pollard. I am a tax attorney and a partner at the
Sideman &Bancroft law firm in San Francisco.

        Mr. Pollard engaged me in 2013 to assist him and his corporate entities in resolving their
employment tax liabilities and ensuring compliance with federal and state tax laws. Since my
engagement by Mr. Pollard, he has made significant efforts to address his tax obligations. He
authorized me to contact both the Internal Revenue Service and the California Employment
Development Department(EDD)and to work with these tax authorities to ensure his compliance
with applicable filing obligations and to establish appropriate payment arrangements to fully
satisfy his tax obligations.

        We are presently working with the IRS audit division to address payroll tax periods
subsequent to the years before you and have recently been assigned to an IRS revenue officer to
establish an appropriate payment agreement to fully pay existing tax liabilities. We have already
established a payment agreement with the EDD for one of Mr. Pollard's entities and are on the
verge of an agreement for the other entity.

         As part of the process of changing his t~ practices, Mr. Pollard hired a business manager
(with a legal and t~ background)in November 2013 to ensure that his business complies with
all tax laws. I have been working with her on all tax matters and understand that the following
changes have and are being made:

         A CPA has been retained to prepare all tax returns, advise on accounting issues and
         review accounting staff work. All tax returns are now filed through the 2012 year and
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Hon. William H. Orrick
April 11, 2014
Page 2


      extended for the 2013 year, where applicable. All tax notices are now dealt with on a
      timely basis.
    • In addition to addressing prior years' employment tax issues and filing amended payroll
      tax returns, Mr. Pollard is now properly classifying and treating current workers as
      employees and will do so going forward.
    • Mr. Pollard is in the process of selling various properties to satisfy his tax and other debt
      obligations. The sale ofthe Mason Street development project is nearly complete with
      the last unit, 1834A Mason Street scheduled to close in thirty days. The property at
      1754-1760 Mission Street is currently listed.
    • Administration of payroll for Mr. Pollard's two ongoing and operating companies, SF
      Garage Company and Mercury Engineering, was moved to an independent company,
      BBSI,on February 7, 2014. BBSI provides workers compensation and runs payroll on a
      weekly basis with the payroll taxes due to the IRS and EDD remitted to the respective
      taxing authorities on the same day. They also prepare and file all payroll tax returns.

        Since the time I was engaged by Mr. Pollard, I have found him to be fully cooperative
with all requests from the tax authorities and intent on being compliant with all tax laws. In my
opinion, he has taken the initiative to fully address his tax obligations.

         I am available to answer any questions you may have regarding the matters addressed
above.

                                                   Sincerely,



                                                   St en M. Katz
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                        EXHIBIT H

    Letter to IRS Agent Natalie Richards
    Attaching $100,000 Cashier’s Check
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                         EXHIBIT I

 Addendum Letter from Christine Wade
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                         EXHIBIT J

           Letter from Adam McNicol
Case 3:13-cr-00722-WHO Document 12-1 Filed 05/22/14 Page 44 of 66
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                        EXHIBIT K

Addendum Letter from Jonathan Powell
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                                                                 179 Osgood Rd.
                                                                 Sanbornton, NH 03259

May 18,2014

Hon. William H. Orrick
United States District Judge
Northern District of California
450 Golden Gate Avenue
San Francisco CA 94102


Your Honor:

As an addendum to my previous letter of support for John Pollard, I woutd like to highlight sorne of the
ways that he supports his family.

John's mother is 72 years old and lives alone in an apartment in a small town in central New Hampshire.
She has been mentally ill her entire life, suffering from bi-polar disorder. Her primary source of income
is social security which does not cover her basic living expenses. Without the additional support John
has been providing her for over 20 years she would not have been able to remain in her home. John
currently provides her with a monthly allowance of 5400 and provides her with a cell phone so she can
be in contact with her family.

He has also been involved with the lives of his youngest brothers, who are currently teenagers. When
they were born their mother had recently married John's father, and they wgre living an isolated and
hermit-like existence on a small farm in ruralVermont. The marriage did not last, and the mother
relocated in Vermont with the boys. For many years they were home schooled. John has been
concerned about what he perceived to be their insular lifestyle and unaspiring upbringing, and even
though they live on the opposite coast from him, he has tried to provide support, broaden their horizons
and inspire them to pursue higher goals.

He was determined that the boys would receive a proper education and worked tirelessly to persuade
their mother to send them to school, which John continues to pays for. He has visited them and
provided them with computers, books and clothing. He has invited them to a yearly gathering of the
siblings at Martha's Vineyard, and has flown them out to visit him in San Francisco. John has been a
mentor to the boys, he has discussed education and goals with them, spoken to their guidance
counselor, and tried to set up tutoring services. Sam has applied to the College of Marin and plans to
start there in August and live with John in San Francisco.

I hope this has been a helpful contribution to gaining an understanding of John's contributions to his
family.
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                        EXHIBIT L

             Letter from Bevan Dufty
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                        EXHIBIT M

             Letter from Hansa Patel
      Case 3:13-cr-00722-WHO Document 12-1 Filed 05/22/14 Page 51 of 66
                                          Hansa R. Patel
                                       33 Santa Monica Way
                                  San Francisco, California 94127
                                        Tel: (415) 812-1052
                                        Fax: (415) 463-1052


May 21,2014

Hon. William H. Orrick
United States District Court
Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

The Honorable Judge Orrick,

I have known John Pollard for over 10 years. I meet John years ago when I was looking for
someone to build me a garage for my home. What made me hire John for the project was about
his character. Although I had interviewed other potential contractors to build my garage, John
was different. I really appreciated the fact that he treated me with respect and did not dismiss me
because I was a woman. John was fair, honest and respectful unlike other contractors I had
interviewed.

During the construction of my garage, my extended family has meet John and hired him for
multiple projects. Now, he is a close family friend who regularly comes over for meals at my
parent's home. Last year, John even joined us for our family Christmas lunch. During these
meals, I have come to discover that John was raised and continues to be a vegetarian and show
love and respect for animals. I have also discovered, while in our family home, that John may be
single but he really is a family man. He takes care of his family and truly cares about the people
he works with and his employees .. In addition, now John is trying to care for and provide
financially and emotionally for his step-siblings who are minors. Their mother suffers from
severe mental health problems. John clearly cares about people and takes care of them. He
would not intentionally try to defraud anyone.

This year I have earned a lot more about John. Recently I was at a mixer for University of San
Francisco Juvenile Dependency Clinic interns and San Francisco Juvenile Dependency Panel
Attorneys. For the past 10 years, I have been practicing Juvenile Dependency Law in San
Francisco, including advocating for abused and neglected children and their parents.
At the same location as my event was an event for the Real Estate Brokers and John was one of
their speakers. During this event, I casually asked John to help provide housing for abused and
neglected children especially Non-Minor Dependents of the Court. John said sure I will help.
Well, I can say John is a man of his word. For the past several months, John and I have been
working together with San Francisco Human Services Agency, Family and Children's Services
Division and First Place Youth (which provides independent living services foster-children) to
develop housing and job opportunity for our foster-kids, specially Non-Minor Juvenile
Dependents. While working this project, I have discovered that John wants to support these
programs because he can relate to the kids. John's parents suffer from severe mental health
problems and therefore he and his younger sister were left alone for significant periods of time
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without any adult supervision. John is trying to help kids, like himself. John wants to help
abused and neglect kids because he cares about our community and not for financial gain.

Your Honor, John Pollard is a good, honest person and a valuable member of our community. I
do not believe John would knowingly defraud his family, employees or community. John has
informed me about his guilty plea. However, I believe that his troubles are more due to lack of
administrative supervision and not dishonesty.
Thank you.

Sincerely,


~/-/cad
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                        EXHIBIT N

     Letter from Cody VanValkenburgh
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                        EXHIBIT O

            Letter from Gabriel Matty
Case 3:13-cr-00722-WHO Document 12-1 Filed 05/22/14 Page 56 of 66
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                        EXHIBIT P

            Letter from Gina Weyant
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                        EXHIBIT Q

           Letter from Jeanette Hosch
Case 3:13-cr-00722-WHO Document 12-1 Filed 05/22/14 Page 60 of 66
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                        EXHIBIT R

          Letter from Judith Davidson
Case 3:13-cr-00722-WHO Document 12-1 Filed 05/22/14 Page 62 of 66
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                        EXHIBIT S

   Letter from Rachel Abraham-Pollard
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